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10
                                    UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

13   ALYSSA BURNTHORNE-MARTINEZ, an                Case No. 4:16-cv-02843-YGR
     individual on behalf of herself, all others
14   similarly situated,                           [PROPOSED] ORDER GRANTING
                                                   FINAL APPROVAL OF CLASS ACTION
15                    Plaintiff,
                                                   SETTLEMENT, APPROVING
            v.                                     SETTLEMENT ADMINISTRATOR
16                                                 COSTS, GRANTING MOTION FOR
17   SEPHORA USA, INC., a Delaware                 ATTORNEY FEES AND COSTS AND
     Corporation, and DOES 1 to 100, inclusive,    INCENTIVE AWARD; AND ENTERING
18                                                 JUDGMENT
                      Defendants.
19                                                 *as modified by the Court*
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                                                   Date: April 24, 2018
21                                                 Time: 2:00pm
                                                   Courtroom: 1
22                                                 Judge: Hon. Yvonne Gonzalez Rogers

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        [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND ENTERING JUDGMENT
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 1                                             [PROPOSED] ORDER
 2          On April 24, 2018, a hearing was held on the motion of Plaintiff Alyssa Burnthorne-Martinez
 3   for final approval of the class settlement (the “Settlement”) between Plaintiff and Defendant Sephora
 4   USA, Inc. (“Sephora”).
 5          The parties have submitted the Settlement, which this Court preliminarily approved by its order
 6   entered on January 8, 2018. (Dkt. No. 94.) In accordance with the Preliminary Approval Order, Class
 7   Members have been given notice of the terms of the Settlement and the opportunity to object to it or to
 8   exclude themselves from its provisions.
 9          Having received and considered the Settlement, the supporting papers filed by the parties, and
10   the evidence and argument received by the Court at the hearing before it entered the Preliminary
11   Approval Order and at the final approval hearing on April 24, 2018, the Court grants final approval of
12   the Settlement, and HEREBY ORDERS and MAKES DETERMINATIONS as follows:
13          1. Pursuant to the Preliminary Approval Order, the Postcard Notice of Class Action Settlement
14              was sent to each Class Member by first-class mail. The Long Form Notice was posted on the
15              Notice Administrator’s website. The Court finds and determines that this notice procedure
16              afforded adequate protections to Class Members and provides the basis for the Court to make
17              an informed decision regarding approval of the Settlement based on the responses of Class
18              Members. The Court finds and determines that the notice provided in this case was the best
19              notice practicable, which satisfied the requirements of law and due process.
20          2. The Court finds and determines that the Class, as conditionally certified by the Preliminary
21              Approval Order, meets all of the legal requirements for class certification for settlement
22              purposes under Federal Rules of Civil Procedure 23(a) and 23(b)(3), and it is hereby ordered
23              that the class is finally certified for settlement purposes, namely:
24                  All individuals who both: (a) applied for a retail store position in the United
                    States with Sephora USA, Inc. (“Sephora”) for whom Sephora requested a
25                  background check report from Accurate Background and (b) for whom a
26                  background check report was subsequently generated by Accurate
                    Background for Sephora at any time between April 22, 2011 and November 1,
27                  2017.

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        [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND ENTERING JUDGMENT
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 1          3. The Court further finds and determines that the terms of the Settlement are fair, reasonable,
 2              and adequate to the Class and to each Class Member, particularly in light of the following
 3              factors: the extent of discovery conducted and current stage of the proceedings;1 the strengths
 4              and weaknesses of Plaintiff’s case; the risk, expense, complexity, and likely duration of
 5              further litigation; the amount offered in settlement; and the experience and views of counsel.
 6              See Churchill Village, LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004); see also Hanlon
 7              v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998).
 8          4. The Court further finds and determines that the Class Members who did not timely submit
 9              valid Requests for Exclusion in accordance with the Settlement Agreement, attached hereto
10              as Exhibit 1, and the Preliminary Approval Order will be bound by the Settlement, that the
11              Settlement is ordered finally approved, and that all terms and provisions of the Settlement
12              should be and hereby are ordered to be consummated.
13          5. The release in Paragraph 7.1 of the Settlement Agreement is hereby modified as follows:
14                  Settlement Class Member Released Claims. Upon the Effective Date, each of the
15                  Settlement Class Members, on behalf of themselves and each of their respective agents,
16                  successors, heirs, and assigns, will be deemed to have, and by operation of the Judgment
17                  will have, fully, finally, and forever released, relinquished and discharged the Released
18                  Parties from the following claims through and including November 1, 2017: all claims
19                  under (1) the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq.; (2) the California
20                  Consumer Credit Reporting Agencies Act (“CCRAA”), Cal Civ. Code § 1785.1 et seq.;
21                  and/or (3) the California Investigative Consumer Reporting Agencies Act (“ICRAA”),
22                  Cal. Civ. Code § 1780 et seq., that were pled in or are reasonably related to claims and
23                  potential claims in the Litigation, including but not limited to any and all claims related to
24                  or arising out of any background check requested or procured by Defendant or the
25                  disclosures or other documentation provided (or not provided) to any Settlement Class
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                Plaintiff prevailed against Sephora’s motion for partial judgment on the pleadings, and the
28   parties fully briefed Sephora’s motion for summary judgment and Plaintiff’s motion for class
     certification.

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        [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND ENTERING JUDGMENT
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 1             Member in connection with any such background check (the “Settlement Class Released
 2             Claims”).
 3      6. Without affecting the finality of this order in any way, the Court retains jurisdiction of all
 4          matters relating to the interpretation, administration, implementation, effectuation and
 5          enforcement of this order and the Settlement for a period of one year from the entry of this
 6          order.
 7      7. Nothing in this order will preclude any action to enforce the parties’ obligations under the
 8          Settlement or under this order, including the requirement that Sephora make payments to the
 9          Class Members in accordance with the Settlement.
10      8. Upon completion of administration of the Settlement, the Settlement Administrator, Rust
11          Consulting, Inc., will provide written certification of such completion to the Court and
12          counsel for the parties.
13      9. The parties are hereby ordered to comply with the terms of the Settlement.
14      10. The Court hereby enters final judgment in accordance with the terms of the Settlement, the
15          Order Granting Preliminary Approval of Class Action Settlement entered on January 8, 2018,
16          and this order.
17      11. This document will constitute a final judgment (and a separate document constituting the
18          judgment) for purposes of Federal Rule of Civil Procedure 58.
19      12. The Parties will bear their own costs and attorneys’ fees except as provided herein.
20      13. In light of the pertinent factors set forth in Staton v. Boeing Co., 327 F.3d 938, 963–64 (9th
21          Cir. 2003), Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048–50 (9th Cir. 2002), and
22          subsequent cases, the Court finds that Plaintiff’s request for $250,000 in fees (which amounts
23          to one-third of the $750,000 Settlement Amount) is reasonable. While the $250,000 is an
24          upward departure from the Ninth Circuit’s benchmark of 25% of the settlement fund, “in
25          most common fund cases, the award exceeds that benchmark,” with a 30% award the norm
26          “absent extraordinary circumstances that suggest reasons to lower or increase the
27          percentage.” In re Omnivision Techs. Inc., 559 F. Supp. 2d 1036, 1047–48 (N.D. Cal. 2008)
28          (internal quotation marks omitted); see also Ford v. CEC Entm’t Inc., No. 14cv677 JLS


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 1              (JLB), 2015 WL 11439033, at *5 (S.D. Cal. Dec. 14, 2015) (finding award of one-third of
 2              settlement fund in case alleging FCRA, CCRAA, and ICRAA violations was “in line with
 3              other attorneys’ fees awards in California”). The Court takes into account the results
 4              obtained and has discretion to “[a]djust the benchmark when special circumstances indicate a
 5              higher or lower percentage would be appropriate.” In re Pacific Enters. Sec. Litig., 47 F.3d
 6              373, 379 (9th Cir. 1995).
 7                  Here, the Settlement produced a favorable result for the Class Members. The $750,000
 8              non-reversionary Settlement Amount is 65.6% of the amount that would be awarded if the
 9              jury awarded a $100 penalty per violation. See De Santos v. Jaco Oil Co., No. 1:14-cv-0738-
10              JLT, 2015 WL 5732829, at *13 (E.D. Cal. Sept. 29, 2015) (finding 67% recovery of possible
11              damages in case pursuing claims under FCRA, ICRAA, and CCRAA to be a favorable
12              result); cf. In re Uber Litig., No. 14-cv-05200-EMC, 2018 WL 2047362, at *6 (N.D. Cal.
13              May 2, 2018) (finding that exceeding 25% benchmark was not justified where recovery was
14              less than 1% of potential verdict in case alleging violations of FCRA and related state laws).
15              Moreover, Class Counsel successfully negotiated direct payments for a class of individuals
16              that in all likelihood may have never received any compensation or redress for the conduct
17              complainted of, particularly in light of the evolving, and often conflicting, case law regarding
18              FCRA class actions, and by settling the matter at this stage in the litigation—namely after
19              full briefing on Sephora’s motion for summary judgment and Plaintiff’s class certification
20              motion—avoided draining further resources of the parties and the Court, and running the risk
21              that Class Members would recover nothing. Class counsel took this case on a pure
22              contingency basis, with no guaranty of repayment. In addition, the reasonableness of this fee
23              is confirmed by the lodestar cross-check, which results in a multiplier of less than 1.3, well
24              within the range of reasonableness.2 See, e.g., Ford, 2015 WL 11439033, at *6 (given “the
25              complexity of th[e] case, the favorable results achieved by Class Counsel in the Settlement
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               Plaintiff has filed an administrative motion to seal attorney time records submitted in support
28   of its motion for final approval. (Dkt. No. 100.) The Court addresses the motion to seal in a separate
     order.

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        [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND ENTERING JUDGMENT
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 1            Agreement, and the risk Class Counsel assumed by taking th[e] case on contingency,” court
 2            approved 33% fee that resulted in multiplier of 1.6). Therefore, the Court orders $250,000 to
 3            be paid to Class Counsel from the Settlement Amount.
 4         14. Class Counsel has submitted adequate support for $20,000 in litigation expenses, which
 5            represents an agreed-upon amount that is less than the $25,122.82 actually incurred. (See
 6            Dkt. No. 95-1, Setareh Decl. ¶ 29). The Court therefore orders $20,000 to be paid to Class
 7            Counsel from the Settlement Amount.
 8         15. The Court finds the Settlement Administrator’s costs in the amount of $32,625 reasonable
 9            and orders this amount to be paid from the Settlement Amount.
10         16. The Court finds that Plaintiff’s requested service award of $2,500 is reasonable and orders
11            that it be paid from the Settlement Amount.
12         IT IS SO ORDERED.
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                May 16
     Date: _________________, 2018                      By:_________________________
14                                                        Hon. Yvonne Gonzalez Rogers
15                                                           United States District Judge

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       [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND ENTERING JUDGMENT
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                      EXHIBIT 1
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